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 IN THE UNITED STATES DISTRICT COURT MIDDLE DISNitiK;:i)CVeNiekr_BAMA
                                                           I— a-,
                        NORTHERN DIVISION

TIMOTHY A. WALLACE,                           )                1019 RN I I P 2: 51.4
individually, and on behalf of all others     )
                                              )                OFF,RI\ P. H.1.CKFTT, CLK
similarly situated,                                                           T 0Li k
                                              )
                                              )                                  IA A
       Plaintiffs,                            )
                                              )      Miscellaneous Case No.:
                                              )
vs.
                                              )        a119-mc,- 3?-p4 -tow
                                              )
SOUTHERN CABLE SYSTEMS,LLC;                   )
And JERRY RUSSELL TYLER,                      )
                                              )
                                              )
       Defendants.                            )

      ALLIED EASTERN INDEMNITY COMPANY'S MOTION TO QUASH
                      PLAINTIFFS' SUBPOENA

       Allied Eastern Indemnity Company, a non-party to the proceedings entitled

Timothy A. Wallace, individually, and on behalf of all others similarly situated v.

Southern Cable Systems, LLC and Jerry Russell Tyler, Case No. 3:16CV209-RV/CJK

(N.D. Fla.), by and through undersigned counsel, hereby respectfully moves this Court

for the entry of an Order pursuant to Rule 45 of the Federal Rules of Civil Procedure

quashing the Plaintiffs' subpoena for deposition testimony or, in the alternative, for entry

of an Order requiring the subpoena to comply with the geographical limits specified in

Rule 45(c)(1)(A). As grounds for the Motion to Quash, the non-party states as follows:

       1.     On June 3, 2019, Allied Eastern Indemnity Company was served with a

subpoena commanding that its corporate representative(s) appear for deposition on June

28, 2019 in Montgomery, Alabama(Subpoena, Exhibit A).
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        2.    Rule 45(c) of the Federal Rules of Civil Procedure provides that t`a

subpoena may command a person [who is not a party or party's officer] to attend a

deposition only within 100 miles of where the person resides, is employed, or regularly

transacts business in person." Fed. R. Civ. P. 45(c)(1)(A). Under Rule 45(d)(3)(A)(ii), a

subpoena must be quashed if its compliance requires the non-party to travel beyond the

geographical limits specified in Rule 45(c). Fed. R. Civ. P. 45(d)(3)(A)(ii).

        3.    Allied Eastern Indemnity Company is not a party to this action. The Allied

Eastern Indemnity Company representatives who would be responsive to the subpoena do

not reside, are not employed and do not regularly transact business in person within 100

miles of Montgomery, Alabama.

        4.    Ms. Christine Plummer is the person with knowledge to testify in response

to Topics No. 1, No. 2, and No. 3. Mrs. Plummer is employed in Franklin, Tennessee

(3000 Meridian Blvd, Ste. 400, Franklin, TN 37067) and resides in Manchester,

Tennessee (Affidavit of Christine Plummer, Exhibit B). The subpoena seeks to compel

her to travel over 250 miles from her places of business and residence to Montgomery,

Alabama (25 S. Court Street, Montgomery, AL 36104). Ms. Becky Hillhouse is a person

with knowledge to testify about Topic No. 3 and No. 4. Ms. Becky Hillhouse is the

person with knowledge to testify in response to Topics No. 4 and No. 5. Mrs. Hillhouse is

employed in Madison, Mississippi (116 One Madison Plaza, Ste. 1100, Madison, MS

39110) and resides in Madison, Mississippi (Affidavit of Becky Hillhouse, Exhibit C).

The subpoena seeks to compel her to travel over 250 miles from her places of business

and residence to Montgomery, Alabama(25 S. Court Street, Montgomery, AL 36104). In


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order to comply with the Plaintiffs' subpoena, Ms. Plummer and Ms. Hillhouse will be

required to travel distances far beyond the limit specified in Rule 45(c). As such, the

subpoena should be quashed.

        5.     In the alternative, Allied Eastern Indemnity Company respectfully requests

that the Court issue an Order modifying the subpoena to comply with the geographical

limits prescribed in Rule 45(c). Specifically, Allied Eastern Indemnity Company

respectfully requests an Order requiring the deposition of Ms. Plummer be taken in

Franklin, Tennessee and the deposition of Ms. Hillhouse be taken in Madison,

Mississippi.

        6.     Allied Eastern Indemnity Company objects to the subpoena issued by

Plaintiffs on the grounds that it is overly broad, unduly burdensome, and not reasonably

calculated to lead to the discovery of admissible evidence. In filing this Motion, Allied

Eastern Indemnity Company reserves the right to object to the breadth and relevance of

the topics for which the subpoena seeks testimony.

         WHEREFORE, PREMISES CONSIDERED, nonparty Allied Eastern Indemnity

Company, respectfully requests this Court enter an Order quashing the subpoena for

deposition testimony or, in the alternative, for entry of an Order requiring the subpoena to

comply with the geographical limits specified in Rule 45(c).

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                             CERTIFICATE OF SERVICE

      I hereby certify that I have this the 1 lth day of June, 2019, served a copy of the
Motion to Quash Plaintiffs' Subpoena on all counsel by e-mail and mailing same to each
by U.S. Mail, postage prepaid and properly addressed to the following:

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                                               OF COUNSEL




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